Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 1 of 44




                                                 5:19-cv-109
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 2 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 3 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 4 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 5 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 6 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 7 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 8 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 9 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 10 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 11 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 12 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 13 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 14 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 15 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 16 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 17 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 18 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 19 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 20 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 21 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 22 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 23 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 24 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 25 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 26 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 27 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 28 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 29 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 30 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 31 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 32 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 33 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 34 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 35 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 36 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 37 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 38 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 39 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 40 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 41 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 42 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 43 of 44
Case 5:19-cv-00109-LGW-BWC Document 1 Filed 11/26/19 Page 44 of 44
